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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,

                                                                   DECISION AND ORDER
               v.                                                     05-CR-229A
                                                                      05-CR-231A
CHERYL WAGNER,

                                     Defendant.




                                     BACKGROUND

               The defendant, Cheryl Wagner, is indicted in two separate indictments.

The first indictment charges the defendant with two counts of perjury in violation of 18

U.S.C. § 1623. See Indictment, Dkt. No. 1, O5-CR-229A. Specifically, the indictment

charges the defendant with lying to the grand jury about the circumstances of a false

insurance claim that was submitted by her boyfriend, David Cain, Jr.,1 and about Cain’s

efforts to “coach” her grand jury testimony. The second indictment charges the

defendant with witness tampering in violation of 18 U.S.C. § 1521(b)(3). See

Indictment, Dkt. No. 1, 05-CR-231A. In that indictment, it is alleged that the defendant

attempted to influence the grand jury testimony of Sean Cooper. Specifically, the

indictment alleges that Wagner went to Cooper’s house, where she received a




       1
         This false insurance claim is the subject of a separate state court indictment currently
pending against the defendant and Cain.

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telephone call from Cain. Cain, who was in jail,2 instructed the defendant to hand the

phone to Cooper, which the defendant did. According to the government, Cain then

attempted to “corruptly influence” Cooper’s testimony by telling Cooper to lie to the

grand jury.

              The government moved for pretrial detention of defendant Wagner. On

September 12, 2005, Magistrate Judge H. Kenneth Schroeder, to whom the matter had

been referred, denied the government’s motion and ordered that the defendant be

released upon the posting of a $5,000 signature bond and upon certain other conditions

including that she: (1) be confined to her home; (2) have no contact with any of the

government’s witnesses or potential witnesses in this case, except in the presence of

her attorney; (3) consent to a trap and trace device on her telephone; and (4) consent

to her emails being monitored.

              The government filed an appeal of Magistrate Judge Schroeder’s release

order and the defendant filed a response. The Court heard oral argument on

November 2, 2005. On November 4, 2005, the Court denied the government’s appeal,

ordered the defendant released upon the conditions set by the Magistrate Judge, and

informed the parties that a Decision and Order explaining the Court’s ruling would

follow.




          2
           According to the government, the defendant had forwarded her home telephone calls
to her cell phone. Cain called the defendant’s home phone (from jail), and the call was
automatically forwarded to the defendant’s cell phone.

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                                       DISCUSSION

              Pursuant to 18 U.S.C. § 3142(f), the government may move for pretrial

detention of a defendant where the case involves a crime of violence, or “a serious risk

that [the defendant] will obstruct or attempt to obstruct justice.” See 18 U.S.C. § §

3142(f)(1)(A) and (f)(2)(B). Pursuant to 18 U.S.C. § 3142(e), the Court shall issue an

order of detention pending trial if it finds that “no condition or combination of conditions

will reasonably assure the appearance of the [defendant] as required and the safety of

any other person and the community. . . .”

              In determining whether there are conditions of release that will reasonably

assure the appearance of the defendant and the safety of the community, the Court

must consider the factors provided in 18 U.S.C. §3142(g):

       (1) The nature and circumstances of the offense charged, including
       whether the offense is a crime of violence or involves a narcotic drug;

       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including –

                     (A) the person’s character, physical and mental
              condition, family ties, employment, financial resources,
              length of residence in the community, community ties, past
              conduct, history relating to drug or alcohol abuse, criminal
              history, and record concerning appearance at court
              proceedings; and

                      (B) whether, at the time of the current offense or
              arrest, the person was on probation, on parole, or on other
              release pending trial, sentencing, appeal, or completion of
              sentence for an offense under Federal, State, or local law;
              and

       (4) the nature and seriousness of the danger to any person or the
       community that would be posed by the person’s release.


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18 U.S.C. § 3142(g).

              The Second Circuit has warned that, in applying these factors to any

particular case, “the court should bear in mind that it is only a ‘limited group of

offenders’ who should be denied bail pending trial.” United States v. Shakur, 817 F.2d

189, 195 (2d Cir.), cert. denied, 484 U.S. 840 (1987) (quoting S. Rep. No. 225, 98th

Cong., 2nd Sess. 7, reprinted at 1984 U.S.C.C.A.N. 3182, 3189). Furthermore, the

court’s finding that there is no condition or combination of conditions that will

reasonably assure the safety of any person or the community must be supported by

clear and convincing evidence. See 18 U.S.C. § 3142(f)(2).



       A.     Nature of the Offenses Charged

              With regard to the first factor, the nature of the offenses charged, the

Court rejects the government’s argument that any of the charged offenses involves a

crime of violence. The term “crime of violence” is defined in 18 U.S.C. § 3156(a)(4) as:

(A) an offense that has the use, attempted use, or threatened use of physical force as

an element of the crime; (B) any felony offense that, by its nature, involves a substantial

risk that physical force may be used in the course of committing the offense; or (C) any

felony under chapter 109A, 110, or 117.

              The government argues that the witness tampering charge in Count 3 of

Indictment 05-CR-231A, is a crime of violence.3 That charge alleges that the defendant

       3
          The government does not assert that the perjury charges in Indictment 05-Cr-229A
are “crimes of violence” and the Court finds that they are not.

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attempted to and did “corruptly persuade” witness Sean Cooper, “with the intent to

hinder, delay and prevent communication to law enforcement officers” of information

relating to the commission of federal offense, in violation of 18 U.S.C. § 1521(b)(3).

That statute provides in pertinent part:

              whoever knowingly uses intimidation, threatens, or corruptly
              persuades another person, or attempts to do so, or engages
              in misleading conduct toward another person, with intent to .
              . . hinder, delay, or prevent the communication to a law
              enforcement officer . . . of information relating to the
              commission or possible commission of a Federal offense [is
              guilty of a crime].


The government argues that this offense qualifies as a “crime of violence” under 18

U.S.C. § 3156(a)(4), because one of the ways that the statute can be violated is by

threats, intimidation, and the use of physical force. The Court rejects this argument.

Use of “physical force” is not an element of the crime for which the defendant is

charged. Section 1512 was amended in November 2002, and the language regarding

the use of “physical force” was removed from subsection (b) and moved to subsection

(a)(2) of the statute. The defendant is not charged with violating subsection (a)(2).

Since the “use of physical force” is not an element of the offense charged, it is not a

crime of violence under § 3156(a)(4)(A).

              Nor has the government shown that the offense, by its nature, involved a

substantial risk of physical force against a person in the course of committing the

charged offense. The indictment alleges that the defendant “corruptly persuaded”

witness Sean Cooper when she facilitated a telephone call from Cain to Cooper. The

defendant herself did not participate in that conversation. According to the government,


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she merely handed Cooper her cellular telephone upon Cain’s request. The

government does not allege that Cain himself made any threats of physical violence

toward Cooper. In fact, the indictment does not allege that any form of “intimidation” or

“threats” were used. It alleges only corrupt persuasion. These allegations are

insufficient to constitute a “crime of violence” within the meaning of 3156(a)(4).



       B.     Remaining Factors

              As to the remaining factors set forth in 18 U.S.C. § 3142(g), the

government argues that the weight of the evidence is strong. Assuming arguendo that

it is, the remaining factors weigh against the government’s position.

              The defendant has strong ties to the Western New York community. She

has no other criminal history, except for the pending state court charges relating to an

alleged insurance fraud incident. The government emphasizes that the defendant was

on release from bail (relating to the insurance fraud charge) at the time that these

alleged acts were committed. While that is true, the government has not shown why

the conditions imposed by the Magistrate Judge are insufficient to ensure that the

defendant will not commit any further incidents of witness tampering. As noted,

Magistrate Judge Schroeder issued a “no contact order” that prohibits the defendant

from having any contact with any of the prospective witnesses, except in certain

circumstances when her attorney is present. She is also confined to her home,

prohibited from possessing a cellular telephone, and has agreed to permit her emails

and telephone to be monitored. The Court finds that these conditions are sufficient to



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deter any future attempts by the defendant to obstruct justice, and that there is simply

no basis for finding that she poses a danger to the community.



                                        CONCLUSION

             For the reasons stated, the government’s appeal of Magistrate Judge

Schroeder’s release order is denied, and the defendant is ordered released upon the

terms and conditions set by Magistrate Judge Schroeder.




             IT IS SO ORDERED.
                                  /s/   Richard J. Arcara
                                  HONORABLE RICHARD J. ARCARA
                                  CHIEF JUDGE
                                  UNITED STATES DISTRICT COURT

DATED: November         22   , 2005




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